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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2016 OK 63Case Number: SCBD-6395Decided: 06/06/2016THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2016 OK 63, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION.



IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2016 DUES




ORDER OF SUSPENSION FOR NONPAYMENT OF 2016 DUES


On May 23, 2016, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2016 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on April 15, 2016, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2016. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2016 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 6TH DAY OF JUNE, 2016.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.



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Mary Shannan Arbabi, OBA No. 16562
1001 Montgomery Pl.
Lucas, TX 75002-3710

Kelly Marie Baldrate, OBA No. 21457
713 Custer Avenue
Evanston, IL 60202

Alexander Louis Bednar, OBA No. 19635
3030 N.W. Expressway, Ste. 200
Oklahoma City, OK 73112

Dionna Dawn Bierbaum, OBA No. 18040
2026 Glenco Terr.
Fort Worth, TX 76110

Leon Douglas Bragg Jr., OBA No. 22780
1709 Chamblee Dr.
Norman, OK 73071

Alan Charles Buckner, OBA No. 17273
14340 Torrey Chase Blvd., Ste. 240
Houston, TX 77014

Jonathan Nathaneal Carter, OBA No. 31329
6803 S. Western, Suite 405
Oklahoma City, OK 73139

Edward Jefferies Clarke, OBA No. 18675
511 Couch Dr., Ste. 300
Oklahoma City, OK 73102-2250

Jane Ann Cobb, OBA No. 10247
P.O. Box 52338
Tulsa, OK 74152

Donna M. Copeland, OBA No. 14992
2904 South 21st Street
Fort Smith, AR 72901

John Michael Curney, OBA No. 19984
411 Heimer Rd.
San Antonio, TX 78232-4854

John Jay Dalton, OBA No. 15381
4050 E. 53rd St.
Tulsa, OK 74135

Samuel J. Demaio, OBA No. 20921
10000 N. Central Expy., Ste. 400
Dallas, TX 75231

Adam Scott Denton, OBA No. 17015
2777 N. Stemmons Freeway, Suite 1157
Dallas, TX 75207-2506

Brian Dean Dill, OBA No. 15989
18668 Gibbons Drive
Dallas, TX 75287

Patricia Ann McIntyre Espedal, OBA No. 17303
Murgata 15
4008 Stavanger
NORWAY

Lori Christine Fisher, OBA No. 30553
15 Paloma Ave., #22
Venice, CA 90291

Danielle Elizabeth Gentges, OBA No. 19100
1517 S. Newport
Tulsa, OK 74120

Tiffany Lynn Grant, OBA No. 22915
2215 Westgate Plaza
Grapevine, TX 76051

Julie Helene Hall, OBA No. 16243
3743 S. Knoxville
Tulsa, OK 74135

Elizabeth Anne Hart, OBA No. 18245
1654 Merton Court
Windsor, CO 80550

Michael Hatfield, OBA No. 30578
143 Lighthouse Drive
Jonestown, PA 17038

Gary Leonard Trent Himes, OBA No. 10336
2201 E. 27th St.
Tulsa, OK 74114-4241

Michael Ronald Hooper, OBA No. 22358
P.O. Box 2134
Frisco, TX 75034

Christina Sue Jackman, OBA No. 30387
6600 S.E. 74th St., Unit 5101
Oklahoma City, OK 73135

Brenda B. Johnson, OBA No. 1816
5100 N. Classen, Ste. 110
Oklahoma City, OK 73118

Noah Douglas Johnson, OBA No. 32026
8815 Audrie Rae Ln.
Cypress, TX 77433

Joseph John Jordan, OBA No. 19998
4113 Silverton Circle
Norman, OK 73072

John Howard Kizer, OBA No. 14761
1903 E. Battlefield Rd.
Springfield, MO 65804

Caroline Bouscaren Lapish, OBA No. 31784
401 S. Boston, Ste. 2900
Tulsa, OK 74103

Mary Jean Little, OBA No. 15804
4018 E. 42nd Pl.
Tulsa, OK 74135

Stephen Alan Littlefield, OBA No. 11608
3815 Caleb Lane
Missouri City, TX 77459

Courtney Jennifer London, OBA No. 31403
525 South Main St., 12th Floor
Tulsa, OK 74103

Stephanie Michelle Lorance, OBA No. 22633
217 N. Harvey, Ste. 406
Oklahoma City, OK 73102

Jason Heath Meadows, OBA No. 22236
550 Centre Street, Apt. C-3
Nutley, NJ 07110

Thomas Michael Moratto Jr., OBA No. 31158
2320 Belleview Dr.
Oklahoma City, OK 73112

Michael Gaylon Parkinson, OBA No. 17189
4050 Reserve Pt.
Colorado Sprgs, CO 80904-1043

Robert C. Payden, OBA No. 6980
P.O. Box 690312
Tulsa, OK 74169-0312

Faith Marie Phillips, OBA No. 21030
P.O. Box 213
Proctor, OK 74457

Brian Edward Powley, OBA No. 17691
7628 N.W. 101st St.
Oklahoma City, OK 73162-5301

Robert Lee Raasch, OBA No. 16292
101 S. Country Club Rd., Apt. G1
Muskogee, OK 74403

Duane Norman Rasmussen, OBA No. 7420
886 E. Dempsey Dr.
Hayden, ID 83835-9595

Jill E. Redwine, OBA No. 30923
3012 Hickory Stick Rd.
Oklahoma City, OK 73102

Brandi Dawn Robertson, OBA No. 21338
P. O. Box 140076
Broken Arrow, OK 74014

Telisa Webb Schelin, OBA No. 18302
17300 Dallas Pkwy., Ste. 1010
Dallas, TX 75248

Jeffrey Daniel Shelton, OBA No. 31305
210 Park Ave., Suite 1140
Oklahoma City, OK 73102

Helen Shin, OBA No. 18466
411 Emerald Ave., Apt. 1
El Cajon, CA 92020

Leona Irene Shoffit, OBA No. 19570
418 Sunset Drive
Hereford, TX 79045

Michael Wayne Simpson, OBA No. 15617
P.O. Box 1011
Fort Defiance, AZ 86504

Kyle Austin Smith, OBA No. 17902
35 Fraiser Fir Pl.
The Woodlands, TX 77389

Shannon Deanne Smith, OBA No. 17346
819 Willard Street
Frederick, OK 73542

Nathaniel Keith Soderstrom, OBA No. 30431
346343 East 904 Road
Chandler, OK 74834

Robert Mark Stout, OBA No. 13786
12221 Bunting Cir.
Edmond, OK 73013-0486

Thomas R Swise, OBA No. 8805
501 N.W. 40th St
Oklahoma City, OK 73118

Worth Irvin Thornton, OBA No. 31796
8612 Piney Creek Bend
Austin, TX 78745

Eric Richard Thorsen, OBA No. 30931
7740 E. 30th Pl.
Tulsa, OK 74129

Amber L. Willingham, OBA No. 16772
5811 Hawthorne Garden Way
Katy, TX 77494

Rebecca Sellers Woodward, OBA No. 8070
10607 James Court
Sapulpa, OK 74066

Hilary I. Zarrow, OBA No. 10535
900 Mid-Continent Tower
401 S. Boston Ave.
Tulsa, OK 74103-4016





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